         Case 1:20-cv-01811-DAT Document 11 Filed 06/07/21 Page 1 of 5




          In the United States Court of Federal Claims
                                         No. 20-1811C
                                      Filed: June 7, 2021


 TWO RIVERS CORPORATE
 CENTRE, L.P.,

                    Plaintiff,

 v.

 THE UNITED STATES,

                    Defendant.


R. Mark Donnell, Jr., Sims Funk PLC, Nashville, Tennessee, for Plaintiff.

Daniel Hoffman, Trial Attorney, Commercial Litigation Branch, with whom were L. Misha
Preheim, Assistant Director, Martin Hockey, Jr., Acting Director, and Brian M. Boynton, Acting
Assistant Attorney General, Civil Division, U.S. Department of Justice, Washington, D.C.,
Tracy J. Downing, United States Department of Veterans Affairs, Of Counsel, for Defendant.

                         MEMORANDUM OPINION AND ORDER

TAPP, Judge.

         This controversy illustrates the application of the “mirror image rule,” the commonplace
canon that differences between the parties’ proposed contract terms convert a putative
acceptance into a counteroffer. Plaintiff, Two Rivers Corporate Centre, L.P. (“Two Rivers”),
claims it is owed a brokerage commission referenced in a written lease proposal presented to the
Department of Veterans Affairs (“VA”). Applying the “mirror image” rule, the Court determines
that the commission was not incorporated into the resulting contract. Where a response to an
offer does not match the terms offered, there is no acceptance and no formation of a contract as
to that term. Accordingly, Two Rivers’ Complaint fails to identify an obligation of the United
States to pay a commission, thus Defendant’s Motion to Dismiss must be GRANTED.

                                     I.      Introduction

        At issue here is a lease of a 4,914 square foot office space located in Nashville,
Tennessee. (Complaint at 1, ECF No. 1). The lessor, Two Rivers, alleges that the United States
owes a brokerage commission of $76,050.23 arising from Box #26 of Section III of the March
2019, proposed Lease Terms and Conditions (the “Lease Proposal”). (Id. at 1–2). In said box,
entitled “COMMISSIONS (if applicable),” was the handwritten notation “6%” and an adjoining
box provided that commission payments would be made “50% at lease award” and “50% at lease
          Case 1:20-cv-01811-DAT Document 11 Filed 06/07/21 Page 2 of 5




occupancy.” (Id. at 1; Compl. Ex. A at 40). 1 Notably, Box #26 does not identify the party
responsible for the payment of a commission. (Compl. Ex. A at 40). Box #26 also required that a
“COMMISSION AGREEMENT” be attached. (Id.). No such agreement was included with the
Lease Proposal. (Def.’s Mot. to Dismiss at 2, ECF No. 8; see also Compl. Ex. A). Additionally,
the Lease itself, which was executed two months later in May 2019, included no language
regarding the payment of a brokerage commission except incorporation of the Lease Proposal.
(Compl. Ex. A at 6). When the Lease was executed, the United States did not pay a commission,
resulting in Two Rivers seeking relief from the Contracting Officer (“CO”).

        Two Rivers filed its claim with the CO on February 25, 2020. (Compl. Ex. B). In that
correspondence, Two Rivers acknowledged that (1) no references to the commission appear
anywhere in the documentation of the lease with the exception of that in the Lease Proposal, and
(2) the Lease Proposal states that Two Rivers is paying a brokerage commission and “expects to
be reimbursed.” (Id.). Two days later, on February 27, 2020, the CO denied Two Rivers’ claim.
(Compl. Ex. C). In the denial letter, the CO highlighted that the Lease Proposal stated that Two
Rivers “was paying a brokerage commission of 6% of the base rent” but “[a]ll language
pertaining to Brokerage fees [had been] removed from all RLP documents prior to issuance[.]”
(Id.). This litigation followed.

        On December 9, 2020, Two Rivers filed its Complaint alleging that the VA breached the
Lease by failing to reimburse it for the broker’s commission paid by Two Rivers in connection
with the Lease. (Compl. at 2). Pursuant to RCFC 12(b)(6), the United States now moves to
dismiss the Complaint for failure to state a claim upon which relief can be granted. (Mot. to
Dismiss at 1). In the United States’ view, the Complaint fails to identify any contractual
obligation to pay a brokerage commission. (Id. at 4). Two Rivers maintains that Box #26 of the
Lease Proposal establishes an obligation of the United States to pay a commission to its broker,
or alternatively, that Box #26 establishes a contractual ambiguity which should be construed
against the United States. (Resp. to Mot. to Dismiss at 3, ECF No. 9).

                                           II.     Analysis

        A motion to dismiss for “failure to state a claim upon which relief can be granted” is
appropriate under RCFC 12(b)(6) “when the facts asserted by the claimant do not entitle [it] to a
legal remedy.” Lindsay v. United States, 295 F.3d 1252, 1257 (Fed. Cir. 2002). In considering a
motion to dismiss for failure to state a claim, the Court “must accept as true all the factual
allegations in the complaint” and “must indulge all reasonable inferences in favor of the non-
movant[.]” Sommers Oil Co. v. United States, 241 F.3d 1375, 1378 (Fed. Cir. 2001).

       For a claim to be properly stated, the pleading “must contain sufficient factual matter,
accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.
662, 678 (2009) (internal quotations omitted). However, “[t]hreadbare recitals of the elements of
a cause of action, supported by mere conclusory statements, do not suffice.” Id. (citing Bell Atl.



1 Two Rivers’ Complaint, Exhibit A is not Bates stamped. Citations to pages within Exhibit A
refer to the PDF pagination.



                                                   2
          Case 1:20-cv-01811-DAT Document 11 Filed 06/07/21 Page 3 of 5




Corp. v. Twombly, 550 U.S. 544, 555 (2007)). “[O]nly a complaint that states a plausible claim
for relief survives a motion to dismiss.” Iqbal, 556 U.S. at 678. “Determining whether a
complaint states a plausible claim for relief [is] a context-specific task that requires the reviewing
court to draw on its judicial experience and common sense.” Id. at 679. In this instance, the
Complaint itself consists of two largely conclusory pages. The factual details relevant to Two
Rivers’ breach of contract claim are located principally in the exhibits to the Complaint.

        “Failure to perform a contractual duty when it is due is a breach of the contract.” Winstar
Corp. v. United States, 64 F.3d 1531, 1545 (Fed. Cir. 1995). To prevail on a breach of contract
claim, a plaintiff must generally allege and prove: (1) a valid contract; (2) an obligation or duty
arising out of the contract; (3) a breach of the obligation or duty; and (4) damages caused by the
breach. San Carlos Irrigation & Drainage Dist. v. United States, 877 F.2d 957, 959 (Fed. Cir.
1989). When contracting with the United States, a plaintiff seeking to enforce the contract must
demonstrate mutual intent—including an unambiguous offer and acceptance—show
consideration, and establish that the Government’s representative possessed the authority to bind
the government. California Federal Bank v. United States, 245 F.3d 1342, 1346 (Fed. Cir. 2001).

        The general rules of contract interpretation apply to contracts to which the government is
a party. Lockheed Martin IR Imaging Sys. v. West, 108 F.3d 319, 322 (Fed. Cir. 1997). Thus,
“[w]hen interpreting disputed contractual provisions, the primary objective for the court is to
determine the intent of the parties to the contract at the time they contracted.” Padilla v. United
States, 58 Fed. Cl. 585, 591 (2003). In most instances, that intent is gathered from the four
corners of the contract. Mktg. & Mgmt. Info., Inc. v. United States, 57 Fed. Cl. 665, 674 (2003).

        Neither party here disputes the existence of a contract. Indeed, in all respects but one, it
appears the parties agree that the Lease agreement was fulfilled. At issue is only whether that
contract imposed a duty on the United States to reimburse Two Rivers a brokerage commission.
Setting aside the purely conclusory statements of the Complaint, the Court looks to the facts,
accepted as true, disclosed by the Complaint’s exhibits including the Lease Proposal and the
Lease itself.

        As recited above, the relevant language of the Lease Proposal is sparse: it references a
six-percent commission to be paid in two installments. (Ex. A at 40). The Lease Proposal also
required that if a commission was applicable, the parties must attach a “Commission
Agreement.” (Id.). The parties did not do so. The plain language of the Lease Proposal was just
that—Two Rivers’ offer to lease office space to the VA. There is no ambiguity regarding this
document. As the United States correctly points out, nothing in the terms of the Lease obliged
the United States to pay the proposed commission. See C. Sanchez & Son, Inc. v. United States, 6
F.3d 1539, 1543 (Fed. Cir. 1993) (“A contract is read in accordance with its express terms and
the plain meaning thereof.”).

        Neither party acted further on this portion of the Lease Proposal. The brokerage
commission was not ratified by execution of a “Commission Agreement” as Box #26 of the
Lease Proposal required, and the parties did not include a commission in the resulting written
agreement. It is the Court’s responsibility to “give the words of the agreement [of a contract]
their ordinary meaning unless the parties mutually intended and agreed to an alternative
meaning.” Harris v. Dep’t of Veterans Affairs, 142 F.3d 1463, 1467 (Fed. Cir. 1998). Similarly,


                                                  3
          Case 1:20-cv-01811-DAT Document 11 Filed 06/07/21 Page 4 of 5




it is not the role of the Court to add additional language to support a conclusion urged by a
disappointed party to an otherwise effective contract. American Cap. Corp. v. F.D.I.C, 472 F.3d
859, 865 (Fed. Cir. 2006) (“We cannot rewrite a contract or insert words to which a party has
never agreed.”). The plain language at issue here at best establishes only that Two Rivers sought
reimbursement of the commission it was paying. Neither party acted, however, to adopt a
provision to that effect into a binding obligation. “The court is bound to give effect to the
stipulations of the contract, but not to provisions which the parties deliberately omitted to insert,
after attention had been directed to them.” Culliford v. Gomila, 128 U.S. 135, 158 (1888).

        As the Federal Circuit has observed, “[u]nder the traditional ‘mirror image’ rule of the
common law, mismatch between offer and acceptance negates contractual liability.” First
Commerce Corp. v. United States, 335 F.3d 1373, 1381 (Fed. Cir. 2003) (citing Iselin v. United
States, 271 U.S. 136, 139 (1926)). Here, failure of the parties to execute the required
Commission Agreement or otherwise incorporate a provision for payment of a commission in the
Lease unequivocally establishes the lack of mutuality regarding this proposed term. Iselin, 271
U.S. at 139 (“It is well settled that . . . an acceptance upon terms varying from those offered, is a
rejection of the offer, and puts an end to the negotiation, unless the party who made the original
offer renews it, or assents to the modification suggested.”). There are no facts within the
Complaint or the exhibits which manifest the United States’ agreement to reimbursement or
payment of a brokerage commission.

        As a result of the omission of the Commission Agreement and any terms relating to the
commission within the Lease itself, the factual allegations within the Complaint fail to establish
an obligation owed by the United States to pay Two Rivers any sum in excess of that expressly
agreed. The barebones legal conclusion that the United States failed to pay “[t]he total amount of
the commission” to Two Rivers is unsupported by the exhibits to the Complaint. This type of
threadbare recital is insufficient to state a claim for relief, and is exactly the type of complaint the
Supreme Court sought to address in Twombly and Iqbal. Iqbal, 556 U.S. at 678; Twombly, 550
U.S. at 555.

        In addition, Two Rivers’ claim that the Lease Proposal’s reference to a commission
creates a contractual ambiguity sufficient to establish a live controversy also fails. The mere fact
that parties disagree on the interpretation of the contract does not render its language ambiguous.
Metric Constructors, Inc. v. National Aeronautics & Space Administration, 169 F.3d 747, 751
(Fed. Cir. 1999) (“To show an ambiguity it is not enough that the parties differ in their respective
interpretations of a contract term.”); Community Heating Plumbing Co., v. Kelso, 987 F.2d 1575,
1579 (Fed. Cir. 1993) (“A contract is ambiguous if it is susceptible of two different and
reasonable interpretations, each of which is found to be consistent with the contract language.”).
Even where some ambiguity exists, the Court would first resort to extrinsic evidence of the
negotiating history of the contract “before resorting to the doctrine of contra proferentem” as
Two Rivers argues. See Metro. Area Transit, Inc. v. Nicholson, 463 F.3d 1256, 1260 (Fed. Cir.
2006). Here, no ambiguity exists and there is no justification for the application of contra
proferentem nor any need for the Court to resort to evidence outside of the four corners of the
contract.




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         Case 1:20-cv-01811-DAT Document 11 Filed 06/07/21 Page 5 of 5




                                      III.   Conclusion

        For the reasons set forth above, the Court GRANTS the United States’ Motion to
Dismiss. Two Rivers’ Complaint shall be dismissed without prejudice. The Clerk is directed to
enter judgment accordingly.

       IT IS SO ORDERED.

                                                                 s/  David A. Tapp
                                                                 DAVID A. TAPP, Judge




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